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IN THE UNITED STATES DISTRICT COURT

FOR 'I'HE wESTERN DISTRICT oF TENNESSEE 9 A 6 z
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VICTOR IKE IWUOHA,
Petitioner,

vs. No. 05-2322-Ml/P

MICHAEL CHERTOFF, et al. ,

Respondents.

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OR.DER DENYING PE'I‘ITION PURSUANT TO 28 U.S.C. § 2241
ORDER CER'I‘IFYING APPEAL NOT 'I‘AKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Petitioner Victor Ike Iwuoha, alien number 28388262, Who
is being detained at the Plaquemines Parish Detention Center
(“PPDC”) in Braithwaite, Louisiana, filed a p;g §§ petition
pursuant to 28 U.S.C. § 2241 on May 2, 2005, accompanied by a legal
memorandum concerning the appropriate respondent to this petition
and motions seeking a preliminary injunction and a stay of removal.
Iwuoha paid the habeas filing fee. The Clerk shall record the
respondents as Michael Chertoff, the Secretary of Homeland
Security; Alberto Gonzales, the United States Attorney General; and
Craig Robinson, the District Director for the Bureau of Immigration

Customs Enforcement (“BICE”), New Orleans District.

This document entered en the docket sheet In compliance
with eula 55 and/or 79(3) FHCP on " 'O /

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Since the filing of his habeas petition, Iwuoha has filed
a number of additional documents. On May 5, 2005, Iwuoha filed a
motion seeking release on his personal recognizance. On May 23,
2005, Iwuoha filed two separate supplements to his petition. Iwuoha
filed two more supplements to his petition on June 6, 2005, which
appear to restate previous arguments. On June 6, 2005, Iwuoha also
filed another copy of the legal memorandum he submitted on May 2,
2005, as well as another motion seeking a preliminary injunction
and a motion to expedite.

The petition and.motions submitted by this petitioner are
unclear because portions of the factual background have been
omitted. It appears that Iwuoha is a citizen of Nigeria who entered
the United States on or about August 25, 1982 on a student visa to
attend Tennessee State University in Nashville. He married.a United
States citizen named Karen C. Jenkins in 1986. On December 12,
1986, Iwuoha and his wife filed a petition to have his status
adjusted due to his marriage. Mrs. Iwuoha later' withdrew' her
request because the petitioner was not living with her and “she
felt he was intending to commit [or] had committed dishonest or
unlawful acts.” Record of Deportable Alien, dated Apr. 12, 1988.1
On May 18, 1987, the Acting District Director for the New Orleans

District of the Immigration and Naturalization Service (“INS”), the

 

A copy of this document is attached to the petition as Exhibit B.

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predecessor to the BICE, denied Iwuoha’s application for permanent
residence.

On April 12, 1988, the INS learned that Iwuoha was no
longer enrolled at Tennessee State University, so it commenced
deportation proceedings.2 The INS found Iwuoha deportable on August
31, 1988 but granted his motion for voluntary departure. Iwuoha was
required to depart the United States on or before December 31,
1988.

Iwuoha did not depart the United States by the date
specified. Pursuant to an anonymous tip, Iwuoha was arrested
approximately fourteen years later, on September 4, 2003, in
Montgomery, Alabama. Iwuoha had apparently been moved to Buffalo,
New York to join a charter flight of aliens being removed to
Nigeria when the United States Court of Appeals for the Sixth
Circuit issued an order on July 9, 2004 staying his removal. ;wggha

v. Ashcroft, No. 04-3641 (6th Cir. July 9, 2004). That stay remains

 

in effect pending the Sixth Circuit's review of a decision of the
Board of Immigration Appeals that denied his motion to reopen
immigration proceedings.

The claims asserted in this habeas petition are not
clearly articulated. Iwuoha appears to be challenging his continued
detention pending the decision of the Sixth Circuit in light of the

decision in Zadvvdas v. Davis, 533 U.S. 678 (2001). Iwuoha is being

 

2 See Petition, Exhs. A & B.

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detained pursuant to 8 U.S.C. § 1226(a), which authorizes the
Attorney General to detain a noncriminal alien pending a decision
on whether or not the alien is to be removed from the United
States. Section 1226(a) also authorizes the Attorney General, in
his discretion, to release the alien on bond or immigration parole.
Iwuoha raises a due process challenging to that detention,
asserting that he is entitled to a hearing before an impartial
decisionmaker.

In addition to his challenge to his continued detention,
Iwuoha also argues that he is entitled to a suspension of his
deportation, pursuant to the former § 244(a) of the Immigration and
Nationality Act (“INA”), 8 U.S.C. § 1254(a), which was repealed in
1996. That provision permitted an alien to apply for a suspension
of deportation if he could show (l) that he had been continually
physically present in the United States for seven years preceding
his application for relief, and (2) that his deportation would
cause “extreme hardship” to himself or to a United States citizen
spouse, parent, or child. In this case, Iwuoha asserts that his
deportation would cause an extreme hardship to his teenage
daughter, who is an American citizen.

Iwuhoa also argues that (i) he is eligible for
cancellation of removal and adjustment of status pursuant to 8
U.S.C. § 1229a(c)(6), which provides that an alien may file one

motion to reconsider an order that he is removable from the United

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States; (ii) he is entitled to an adjustment of status due to his
marriage to a United States citizen; and (iii) his detention
violates international law.

This is the fourth habeas corpus petition Iwuoha has
filed since his arrest in 2003. The first petition, which was filed
in the United States District Court for the Eastern District of
Louisiana on September 8, 2004, raises claims identical to those
raised in this petition. District Judge Helen G. Berrigan issued an
order on November 17, 2004 that denied the petition without
prejudice for failure to exhaust administrative remedies on the
ground that the petitioner's challenge to the deportation order was
currently pending before the Sixth Circuit. Iwuoha v. Ridge, et

No. 2:04~2544 (E.D. La.). Iwuoha filed a motion for

order. Judge Berrigan issued an order on January lO, 2005 that
acknowledged that the Court had jurisdiction to consider the
legality of the petitioner’s continued detention but held that that
detention was appropriate. A judgment was entered on January ll,
2005 dismissing his petition without prejudice. Iwuoha did not
appeal.

Next, Iwuoha filed his petition in the United States
District Court for the Middle District of Tennessee on January 26,
2005. On March 10, 2005, District Judge Todd J. Campbell denied the

petition without prejudice and certified that an appeal would not

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be taken in good faith. Iwuoha v. Ridoe, et al., No. 3:05-cv-00065
(M.D. Tenn.). The petitioner filed two motions for reconsideration
which were denied on March 21, 2005 and March 29, 2005,
respectively. Iwuoha did not appeal.

Iwuoha filed his third petition in the United States
District Court for the Middle District of Alabama on March 28,
2005. On March 31, 2005, Magistrate Judge Vanzetta Penn McPherson
issued a report and recommendation recommending that the petition
be transferred to the United States District Court for the Eastern
District of Louisiana, where Iwuoha is being detained. On April 18,
2005, District Judge Myron H. Thompson issued an order adopting the
report and recommendation and transferring the case to the Eastern
District of Louisiana. Iwuoha v. Chertoff, et al., No. 2:05cv280~T
(M.D. Ala.). Iwuoha filed a motion to alter or amend, which was
denied on April 28, 2005. The case was transferred to the Eastern
District of Louisiana and assigned to Judge Berrigan, at which time
Iwuoha filed a nwtion to voluntarily dismiss. That motion was
granted on May 16, 2005 and judgment was entered on May 24, 2005.
Iwuoha v. Chertoff, et al., No. 2:05*1606 (E.D. La.).

With respect to the merits of Iwuoha’s most recent
petition, this Court does not have jurisdiction over Iwuoha’s
challenge to the order of deportation, which is governed by 8
U.S.C. § 1252. Section l252(b)(2) states that “the petition for

review [of an order of removal] shall be filed with the court of

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appeals for the judicial circuit in which the immigration judge
completed the proceedings.” It appears, although the petitioner
does not explicitly say so, that the immigration judge who issued
the order of removal was based in Memphis, and Iwuoha has complied
with this section by receiving a stay in the Sixth Circuit. Section
2252(d)(1) states that a court may review a final order of removal
only if the alien has exhausted all administrative remedies
available to him as of right. Iwuoha has not yet exhausted his
petition for review, which is currently' pending in the Sixth
Circuit. Accordingly, this Court does not have jurisdiction to
consider Iwuoha’s removability. gee 8 U.S.C. § 1252(g) (“Except as
provided in this section and notwithstanding any other provision of
law, no court shall have jurisdiction to hear any cause or claim by
or on behalf of any alien arising from the decision or action of
the Attorney General to commence proceedings, adjudicate cases, or
execute removal orders against any alien under this chapter.”).

The Court therefore DISMISSES this petition for lack of
jurisdiction, with the sole exception of the challenge to the
petitioner's continuing detention pending removal.

With respect to Iwuoha’s challenge to his continuing
detention, the law is clear that the proper venue for a § 2241
petition is the judicial district where the petitioner is confined
or where his custodian is located. Braden v. 30th Judicial Circuit

Ct., 410 U.S. 484, 495-96 (1973); Roman v. Ashcroft, 340 F.3d 314,

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318-20 (6th Cir. 2003); Wriqht v. United States Bd. of Parole, 557
F.2d 74, 77 (Sth Cir. 1977) (“The habeas corpus power of federal
courts over prisoners in federal custody has been confined by
Congress through 28 U.S.C. § 2241 to those district courts within
whose territorial jurisdiction the custodian is located.”); see
also United States v. Griffith, No. 95-1748, 1996 WL 316504, at *2
(6th Cir. June 10, 1996) (to the extent prisoner’s filing is
construed as § 2241 petition, “the Eastern District of Michigan is
not the proper venue to file a § 2241 motion for one incarcerated
in Lompoc, California”). “[A] detained alien's immediate custodian
is either the warden of the facility where the alien is detained or
the INS District Director of the district where the alien is being

detained.” Roman, 340 F.3d at 320. Iwuoha is not detained in this

 

judicial district, and the BICE District Director for the district
where the detention facility is located is also not located in this
district. gee igy at 320-21.3 Therefore, this district is not the
proper venue for Iwuoha's challenge to his detention.

For all the foregoing reasons, the Court concludes that
“it appears from the application that the applicant or person

detained is not entitled” to any relief. 28 U.S.C. § 2243. An order

 

3 It is not necessary to consider the extent to which the Supreme

Court’s decision in Rumsfeld v. Padilla, 124 S. Ct. 2711 (2004), altered the rule
enunciated in Roman, as the Western District of Tennessee is not the proper venue
for this habeas petition under either Roman or Rumsfeld. §§g Rumsfeld, 124 S. Ct.
at 2718 (holding that “jurisdiction lies in only one district: the district of
confinement" and that “the proper respondent is the warden of the facility where
the prisoner is being held, not the Attorney General or some other remote
supervisory official”).

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for the respondent to show cause need not issue. The petition is
DISMISSED.‘l

Appeals of habeas petitions under 28 U.S.C. § 2254 and
motions under 28 U.S.C. § 2255 are governed by 28 U.S.C. § 2253 and
require the district court to consider whether to issue a
certificate of appealability. Stanford v. Parker, 266 F.3d 342 (6th
Cir. 2001); Lyons v. Ohio Adult Parole Auth., 105 F.3d 1063 (6th
Cir. 1997). Section 2253 does not apply to habeas petitions by
federal prisoners under § 2241. McIntosh v. United States Parole
Comm'n, 115 F.3d 809, 810 (10th Cir. 1997); Qjo v. Immiqration &
Naturalization Serv., 106 F.3d 680, 681-82 (5th Cir. 1997);
Bradshaw v. Story, 86 F.3d 164, 166 (10th Cir. 1996). Nevertheless,
a habeas petitioner seeking to appeal is still obligated to pay the
$255 filing fee required by 28 U.S.C. §§ 1913 and 1917. Under the
Prison Litigation Reform Act of 1995 (“PLRA”), 28 U.S.C. § 1915, it
is unclear how habeas petitioners establish a right to proceed in
fgrma pauperis and avoid this filing fee.

Although the Sixth Circuit has concluded that the various
filing fee payment requirements and good faith certifications of
amended § 1915 do not apply to § 2254 cases, it has not resolved

whether these requirements apply to § 2241 cases. Kincade v.

 

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Sparkma , 117 F.3d 949, 951-52 (6th Cir. 1997); cf. McGore v.

Wrigglesworth, 114 F.3d 601 (6th Cir. 1997) (instructing courts

 

regarding proper PLRA procedures in prisoner civil-rights cases,
without mentioning § 2241 petitions).

The Tenth Circuit, however, has held that the provisions
of the PLRA do not apply to habeas cases of any sort or to § 2255

motions. See McIntosh, 115 F.3d at 810; United States v. Simmonds,

 

111 F.3d 737, 743 (lOth Cir. 1997). An unpublished Sixth Circuit
opinion has adopted this approach in affirming a decision from this
district. Graham v. United States Parole Comm'n, No. 96-6725, 1997
WL 778515 (6th Cir. Dec. 8, 1997), aff'o Graham v. United States.
No. 96-3251-Tu (W.D. Tenn. Dec. 4, 1996). Because the Court finds

the reasoning of McIntosh persuasive, and because the Court finds

 

that this conclusion naturally follows from the Sixth Circuit’s
decision in Kincade, the Court concludes that the PLRA does not
apply' to § 2241 petitions. Cf. Greene v. Tennessee Dep't of

Corrections, 265 F.3d 369 (6th Cir. 2001) (certificate of

 

appealability requirement is applicable to state prisoner bringing
§ 2241 petition).

Pursuant to Kincade, a petitioner must seek leave to
proceed ip fpppg pauperis from the district court under Fed. R.
App. 24(a), which provides:

A party to an action in a district court who desires to
proceed on appeal in forma pauperis shall file in the

district court a motion for leave to so proceed, together
with an affidavit, showing, in the detail prescribed by

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Form 4 of the Appendix of Forms, the party’s inability to
pay fees and costs or to give security therefore, the
party’s belief that that party is entitled to redress,
and a statement of the issues which that party intends to
present on appeal.
The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith and to deny the
certificate if the appeal would be frivolous.

The good faith standard is an objective one. Coppedge v.

United States, 369 U.S. 438, 445 (1962). It would be inconsistent

 

for a district court to determine that a petition does not warrant
service on the respondent, yet has sufficient merit to support an
appeal ip fp;pa pauperis. §§§ Williams v. Kullman, 722 F.2d 1048,
1050 n.l (2d Cir. 1983). The same considerations that lead the
Court to dismiss this petition also compel the conclusion that an
appeal would not be taken in good faith. It is therefore CERTIFIED,
pursuant to Fed. R. App. P. 24(a), that any appeal in this matter
by petitioner is not taken in good faith, and he may not proceed on

appeal pp forma pauperis.

IT Is so oRDERED this c§z? day of August, 2005.

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Jo `PHIPPS MccALLA
ITED sTATEs DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
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Victor Ike Iwuoha
PPDC

110 Prison RD
Braithwaite, LA 70040

Honorable J on McCalla
US DISTRICT COURT

